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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


BRIGHT DATA LTD.

               Plaintiff,

       v.                                                Case No. 2:19-cv-00414-JRG

                                                         FILED UNDER SEAL
TEFINCOM S.A. D/B/A NORDVPN                              JURY TRIAL DEMANDED
               Defendant.




            PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCOMPLAINT


       Plaintiff, Bright Data Ltd. (“Bright Data” or “Plaintiff”) hereby Answers the counterclaims

contained in Defendant Tefincom S.A. d/b/a NordVPN’s Answer to Plaintiff’s Amended

Complaint (“Countercomplaint”), and states as follows:

       Bright Data denies each and every allegation of fact contained within Defendant’s

affirmative defenses. In so denying, Bright Data does not admit and expressly denies the existence

of any pleading requirement under the Federal Rules of Civil Procedure to respond to such

affirmative defenses.       Bright Data further denies the allegations and characterizations in

Defendant’s Countercomplaint unless expressly admitted in the following paragraphs.

                               DEFENDANT’S COUNTERCLAIMS


126.   Bright Data admits that Defendant filed the Countercomplaint against Bright Data, which

Defendant alleges is filed under Federal Rules of Civil Procedure 13, 14 and 20. Paragraph 126

contains no other allegations that require a response.

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                                            PARTIES


127.   Bright Data admits, on information and belief, the allegations of Paragraph 127.


128.    Bright Data admits the allegations of Paragraph 128.


                                JURISDICTION AND VENUE


129.    Bright Data admits that Defendant has filed counterclaims under the laws of the United

States, including 35 U.S.C. § 1 et seq. and the Declaratory Judgment Act, including 28 U.S.C. et

seq.   Bright Data denies any remaining allegations in Paragraph 129 of Defendant’s

Countercomplaint.


130.   Bright Data admits the allegations in paragraph 130 of Defendant’s Countercomplaint.


131.    Bright Data admits that this Court has personal jurisdiction over Bright Data in this case.

Bright Data denies any remaining allegations in Paragraph 131 of Defendants’ Countercomplaint.


132.    Bright Data admits that venue in this case is proper. Bright Data denies any remaining

allegations in Paragraph 132 of Defendants’ Countercomplaint.


                                             FACTS


133.    Bright Data admits that NordVPN provides VPN services, but is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 133

and, therefore, denies the remaining allegations in Paragraph 133 of Defendant’s

Countercomplaint.




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134.   Bright Data is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 134 and, therefore, denies the allegations in Paragraph 134 of

Defendant’s Countercomplaint.


135.   Bright Data is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 135 and, therefore, denies the allegations in Paragraph 135 of

Defendant’s Countercomplaint.


136.   Bright Data denies the allegations in Paragraph 136 of Defendant’s Countercomplaint.


137.   Bright Data is without knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 137 and, therefore, denies the allegations in Paragraph 137 of

Defendant’s Countercomplaint.


138.   Bright Data admits that the e-mail speaks for itself, but denies the remaining allegations of

Paragraph 138 of Defendant’s Countercomplaint.


139.   Bright Data admits that the e-mail speaks for itself, but denies the remaining allegations of

Paragraph 139 of Defendant’s Countercomplaint.


140.   Bright Data admits that the document speaks for itself, but denies the remaining allegations

of Paragraph 140 of Defendant’s Countercomplaint.


141.   Bright Data admits that the document speaks for itself, but denies the remaining allegations

of Paragraph 141 of Defendant’s Countercomplaint.


142.   Bright Data denies the allegations of Paragraph 142 of Defendant’s Countercomplaint.




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143.   Bright Data admits that the e-mail speaks for itself, but denies the remaining allegations of

Paragraph 143 of Defendant’s Countercomplaint.


144.   Bright Data admits that the document speaks for itself, but is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 144

and, therefore, denies the remaining allegations in Paragraph 144 of Defendant’s

Countercomplaint.


145.   Bright Data admits that the Original Complaint and First Amended Complaint in this

Action accused Defendant of infringing claims of the ’319, ’510, ’511, and ’614 Patents and the

First Amended Complaint also accused Defendant of infringing claims the ’968 Patent, but Bright

Data denies the remaining allegations in paragraph 145 of Defendant’s Countercomplaint.


146.   Bright Data denies the allegations of Paragraph 146 of Defendant’s Countercomplaint.


147.   Bright Data admits that the e-mail speaks for itself, but denies the remaining allegations in

Paragraph 147 of Defendant’s Countercomplaint.


148.   Bright Data admits that claims of the ’319, ’510, and ’614 Patents are infringed by a

residential proxy network, but denies the remaining allegations of Paragraph 148 of Defendant’s

Countercomplaint.


149.   Bright Data admits that Dr. Rhyne issued an expert report finding that Defendant infringes

claims of the ’319, ’510, and ’614 Patents

                                , but denies the remaining allegations of Paragraph 149 of

Defendant’s Countercomplaint.




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150.   Bright Data admits that Dr. Rhyne’s deposition testimony speaks for itself, but denies the

remaining allegations of Paragraph 150 of Defendant’s Countercomplaint.


151.   Bright Data admits that Dr. Rhyne’s deposition testimony speaks for itself, but denies the

remaining allegations of Paragraph 151 of Defendant’s Countercomplaint.


152.   Bright Data admits that it filed a Motion to Compel Defendant to Produce Complete Source

and this Motion has not been withdrawn as of this Answer, but denies the remaining allegations of

Paragraph 152 of Defendant’s Countercomplaint.


153.   Bright Data admits that it filed a Motion for Leave to File Second Amended Infringement

Contentions, but denies the remaining allegations of Paragraph 153 of Defendant’s

Countercomplaint.


154.   Bright Data denies the allegations of Paragraph 154 of Defendant’s Countercomplaint.


155.   Bright Data admits that Crowds is a printed publication predating the Asserted Patents, but

denies the remaining allegations of Paragraph 155 of Defendant’s Countercomplaint.


156.   Bright Data admits that Crowds is does not disclose the claims of the ’319, ’510, and ’511

Patents, at least because it does not disclose the second server recited in the ’319 or ’510 Patents

and/or the first server recited in the ’511 Patent, but denies the remaining allegations of Paragraph

156 of Defendant’s Countercomplaint.


157.   Bright Data admits that Dr. Rhyne’s deposition testimony speaks for itself, but denies the

remaining allegations of Paragraph 157 of Defendant’s Countercomplaint.


158.   Bright Data denies the allegations of Paragraph 158 of Defendant’s Countercomplaint.


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159.   Bright Data denies the allegations of Paragraph 159 of Defendant’s Countercomplaint.


160.   Bright Data admits that HAProxy and some documentation describing HAProxy predated

the ’511 Patent, but denies the remaining allegations of Paragraph 160 of Defendant’s

Countercomplaint.


161.   Bright Data denies the allegations of Paragraph 161 of Defendant’s Countercomplaint.


162.   Bright Data admits that Dr. Rhyne’s deposition testimony speaks for itself, but denies the

remaining allegations of Paragraph 162 of Defendant’s Countercomplaint.


163.   Bright Data denies the allegations of Paragraph 163 of Defendant’s Countercomplaint.


164.   Bright Data denies the allegations of Paragraph 164 of Defendant’s Countercomplaint.


                                        COUNT I
              (Declaratory Judgment of Non-Infringement of Asserted Patents)

165.   Bright Data repeats and incorporates by reference its answers to all the foregoing

paragraphs as if fully set forth herein.


166.   Bright Data admits that Defendant seeks a declaratory judgment of non-infringement as set

forth in Paragraph 166 of Defendant’s Counterclaims but denies that Defendant is entitled to any

relief and denies any other remaining allegations of Paragraph 166 of Defendant’s Counterclaims.


167.   Bright Data admits that it has alleged that Defendant’s infringed one or more claims of the

Asserted Patents as set forth in Paragraph 167 of Defendants’ Counterclaims.


168.   Bright Data denies the allegations in Paragraph 168 of Defendant’s Counterclaims.




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169.   Bright Data admits that Defendant requests a judicial determination of the respective rights

and duties of the parties as set forth in Paragraph of 169 of Defendant’s Counterclaims, but denies

the remaining allegations of Paragraph 169 of Defendants’ Counterclaims.


170.   Bright Data denies the allegations in Paragraph 170 of Defendants’ Counterclaims.


                                        COUNT II
                   (Declaratory Judgment of Invalidity of Asserted Patents)

171.   Bright Data repeats and incorporates by reference its answers to all the foregoing

paragraphs as if fully set forth herein.


172.   Bright Data admits that Defendant seeks a declaratory judgment of invalidity as set forth

in Paragraph 172 of Defendant’s Counterclaims but denies that Defendant is entitled to any relief

and denies any other remaining allegations of Paragraph 172 of Defendant’s Counterclaims.


173.   Bright Data denies the allegations in Paragraph 173 of Defendant’s Counterclaims.


174.   Bright Data admits that Defendant requests a judicial determination of the respective rights

and duties of the parties as set forth in Paragraph of 174 of Defendant’s Counterclaims, but denies

the remaining allegations of Paragraph 174 of Defendants’ Counterclaims.


175.   Bright Data denies the allegations in Paragraph 175 of Defendants’ Counterclaims.


                                         COUNT III
                          (Declaratory Judgment of Unenforceability)

176.   Bright Data repeats and incorporates by reference its answers to all the foregoing

paragraphs as if fully set forth herein.




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177.   Bright Data admits that Defendant seeks a declaratory judgment of unenforceability of any

and all claims of the ‘’614 patent as set forth in Paragraph 172 of Defendant’s Counterclaims but

denies that Defendant is entitled to any relief and denies any other remaining allegations of

Paragraph 177 of Defendant’s Counterclaims.


178.   Bright Data denies the allegations in Paragraph 178 of Defendant’s Counterclaims.


179.   Bright Data admits that Defendant requests a judicial determination of the respective rights

and duties of the parties as set forth in Paragraph of 179 of Defendant’s Counterclaims, but denies

the remaining allegations of Paragraph 179 of Defendants’ Counterclaims.


180.   Bright Data denies the allegations in Paragraph 180 of Defendants’ Counterclaims.


                                        JURY DEMAND


181.    Bright Data admits that Defendant request a trial by jury on issues so triable, but denies

that Defendants are entitled to any relief for its Counterclaims.


                                    PRAYER FOR RELIEF


182.    Bright Data denies that Defendant is entitled to the relief requested or to any other relief

against Bright Data. To the extent a further response to Defendant’s prayer is necessary, Bright

Data denies each and every allegation set forth in Defendant’s Demand for Judgement (Paragraphs

A through K, inclusive).


                                 AFFIRMATIVE DEFENSES


183.    In further answer to the Counterclaims, and as separate affirmative defenses thereto, Bright

Data alleges as follows. Bright Data expressly states that its affirmative defenses are made without

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prejudice to any denial in its Answer, and without admission to any allegation in the

Counterclaims, unless expressly admitted above. Bright Data reserves the right to assert additional

defenses that would be rendered appropriate in view of future discovery, information, and/or

analysis.


                              FIRST AFFIRMATIVE DEFENSE

                         (Res Judicata / Collateral Estoppel / Waiver)


184.     One or more of Defendants’ Counterclaims is barred by res judicata, collateral estoppel

and/or waiver to the extent any issues raised in this proceeding are adjudicated in any other

proceedings between the parties.


                               RESERVATION OF DEFENSES


185.     Bright Data hereby reserves any and all defenses that are available under the Federal Rules

of Civil Procedure and the U.S. Patent Laws and any other defenses, in law or in equity that may

now exist or become available as a result of discovery and further factual investigation during this

litigation.




 Dated: December 27, 2021                                 By: /s/ Ronald Wielkopolski

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                                     CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic

 service are being served this 27th day of December, 2021, with a copy of this document via

 electronic mail.



                                              /s/ Ronald Wielkopolski



                    CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        I hereby certify that the foregoing document is being filed under seal pursuant to the

 Protective Order entered in this matter.

                                                     /s/ Ronald Wielkopolski




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